         Case 1:21-mj-00015-GMH Document 3-1 Filed 01/07/21 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )      Criminal No.
               v.                              )
                                               )      FILED UNDER SEAL
NICHOLAS R. OCHS,                              )
                                               )
                Defendant.                     )

                                               ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal the above-captioned warrant and related documents, including the application and affidavit

in support thereof and all attachments thereto and other related materials (collectively the

“Warrant”), the Court finds reasonable grounds to believe that disclosure of the Warrant will result

in flight from prosecution, and destruction of or tampering with evidence. The Court further finds

that, because of such reasonable grounds to believe the disclosure will so impact the investigation,

the United States has established that a compelling governmental interest exists to justify the

requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the Warrant, the application and affidavit in support thereof, all attachments thereto and other

related materials, the instant application to seal, and this Order are sealed until otherwise ordered

by the Court, except that the Warrant and related materials may be provided to law enforcement

to aid in the apprehension of the defendant.
         Case 1:21-mj-00015-GMH Document 3-1 Filed 01/07/21 Page 2 of 2




       2.      IT IS FURTHER ORDERED that the Clerk’s office shall not make any entry on

the public docket of the Warrant until further order of the Court.



Date: 1/07/2021                                      ___________________________________
                                                     G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE


cc:    Kathryn L. Rakoczy
       Assistant United States Attorney
       United States Attorney’s Office
       555 Fourth Street, N.W.
       Washington, D.C. 20530




                                                2
